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                                                                                                             SEARCH




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            Awards
                                           Award Abstract #1816851

                                            SaTC: CORE: Small: Adversarial ML in Traffic Analysis


                                                                NSF Org:      CNS
                                                                              Division Of Computer and Network Systems
           Search Awards

           Recent Awards                         Initial Amendment Date:      August 9, 2018
           Presidential and Honorary
           Awards                               Latest Amendment Date:        July 28, 2020

           About Awards
                                                          Award Number:       1816851
          How to Manage Your Award
                                                      Award Instrument:       Standard Grant
           Grant Policy Manual

           Grant General Conditions                    Program Manager:       Wei-Shinn Ku
                                                                              CNS Division Of Computer and Network Systems
           Cooperative Agreement                                              CSE Direct For Computer & Info Scie & Enginr
           Conditions

           Special Conditions                                 Start Date:     August 15, 2018

           Federal Demonstration
           Partnership                                          End Date:     July 31, 2021 (Estimated)

           Policy Office Website
                                               Awarded Amount to Date:        $515,840.00


                                                         Investigator(s):     Matthew Wright matthew.wright@rit.edu (Principal Investigator)


                                                                 Sponsor:     Rochester Institute of Tech
                                                                              1 LOMB MEMORIAL DR
                                                                              ROCHESTER, NY 14623-5603 (585)475-7987


                                                        NSF Program(s):       Special Projects - CNS,
                                                                              Secure &Trustworthy Cyberspace


                                             Program Reference Code(s):       025Z, 075Z, 7434, 7923, 9178, 9251


                                               Program Element Code(s):       1714, 8060



                                           ABSTRACT

                                           Surveillance and tracking on the Internet are growing more pervasive and threaten privacy
                                           and freedom of expression. The Tor anonymity system protects the privacy of millions of
                                           users, including ordinary citizens, journalists, whistle-blowers, military intelligence, police,
                                           businesses, and people living under censorship and surveillance. Unfortunately, Tor is
                                           vulnerable to website fingerprinting (WF) attacks in which an eavesdropper uses a machine
                                           learning (ML) classifier to identify which website the user is visiting from its traffic
                                           patterns. The research team's state-of-the-art WF attack using a deep learning classifier
                                           reaches 98% accuracy, which is deeply concerning to Tor and its users. The goal of this
                                           project is to explore the new landscape of WF attacks and defenses in light of the team's
                                           findings with deep learning. A key aspect of the work is to build upon recent advances in
                                           fooling deep learning classifiers and apply these new findings to the context of anonymity

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                                           systems. Based on this focus on adversarial machine learning, the project will create a new
                                           course and an accessible summer camp module on the topic, as well as launch a podcast
                                           on Cybersecurity Research featuring interviews with top researchers in the fields of
                                           adversarial machine learning and anonymity.

                                           The research has three thrusts. First, the team is exploring the impact that these attacks
                                           can have for Tor users by addressing how the attacks can generalize to different network
                                           conditions and Tor versions, how they can be better adapted to realistic settings, and how
                                           they are impacted by real-world user behaviors in Tor. Second, since recent work has
                                           shown that it is possible to reliably fool deep learning classifiers, the team is studying how
                                           to adapt these techniques for robust and efficient defense. Prior work has primarily been in
                                           the image classification domain, whereas network traffic is more challenging to manipulate,
                                           so the team is designing new methods that account for this difference. In the third thrust,
                                           recognizing that researchers are actively seeking robust classifiers that are harder to fool,
                                           the team aims to understand new ways to build robust classifiers and explore their
                                           properties. While this aspect of the project means potentially finding stronger WF attacks
                                           against Tor, robust classifiers would be helpful for the myriad applications of deep learning,
                                           such as self-driving cars, stylometry, malware detection, processing drone and satellite
                                           imagery, and more.

                                           This award reflects NSF's statutory mission and has been deemed worthy of support
                                           through evaluation using the Foundation's intellectual merit and broader impacts review
                                           criteria.


                                           PUBLICATIONS PRODUCED AS A RESULT OF THIS RESEARCH

                                           Note: When clicking on a Digital Object Identifier (DOI) number, you will be taken to an
                                           external site maintained by the publisher. Some full text articles may not yet be available
                                           without a charge during the embargo (administrative interval).

                                           Some links on this page may take you to non-federal websites. Their policies may differ
                                           from this site.

                                           Imani, Mohsen and Rahman, Mohammad Saidur and Wright, Matthew. "Adversarial Traces
                                           for Website Fingerprinting Defense," Proceedings of the 2018 ACM SIGSAC Conference on
                                           Computer and Communications Security, 2018. doi:10.1145/3243734.3278493 Citation
                                           details

                                           Mathews, Nate and Sirinam, Payap and Wright, Matthew. "UNDERSTANDING FEATURE
                                           DISCOVERY IN WEBSITE FINGERPRINTING ATTACKS," Proceedings of the 2018 IEEE
                                           Western New York Image and Signal Processing
                                           Workshop, 2018. doi:10.1109/WNYIPW.2018.8576379 Citation details

                                           Sirinam, Payap and Mathews, Nate and Rahman, Mohammad Saidur and Wright,
                                           Matthew. "Triplet Fingerprinting: More Practical and Portable Website Fingerprinting with
                                           N-shot Learning," CCS '19: Proceedings of the 2019 ACM SIGSAC Conference on Computer
                                           and Communications Security, 2019. doi:10.1145/3319535.3354217 Citation details

                                           Mathews, Nate and Rahman, Mohammad Saidur and Wright, Matthew. "Poster: Evaluating
                                           Security Metrics for Website Fingerprinting," CCS '19: Proceedings of the 2019 ACM
                                           SIGSAC Conference on Computer and Communications
                                           Security, 2019. doi:10.1145/3319535.3363272 Citation details

                                           Rahman, Mohammad Saidur and Matthews, Nate and Wright, Matthew. "Poster: Video
                                           Fingerprinting in Tor," CCS '19: Proceedings of the 2019 ACM SIGSAC Conference on
                                           Computer and Communications Security, 2019. doi:10.1145/3319535.3363273 Citation
                                           details




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